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  IT IS ORDERED as set forth below:



  Date: August 17, 2018
                                             _____________________________________
                                                         James R. Sacca
                                                   U.S. Bankruptcy Court Judge

 _______________________________________________________________


                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

IN RE:                                   )        CHAPTER 7
                                         )
CLARK BARBER,                            )
AQUA CHIFFON BARBER,                     )        Case No. 14-56829-JRS
        Debtor(s).                       )
_____________________________________ )
                                         )
NEIL C. GORDON, as Chapter 7 Trustee for )
the estate of Clark Barber and           )
Aqua Chiffon Barber,                     )
                                         )
        Plaintiff(s),                    )
                                         )
v.                                       )        Adversary Proceeding
                                         )
AQUA CHIFFON BARBER,                     )        Case No. 18-5157
                                         )
        Defendant(s).                    )
_____________________________________ )

               ORDER AND NOTICE OF RULE 26(f) CONFERENCE
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       IT IS ORDERED and NOTICE IS HEREBY GIVEN that the parties shall confer

pursuant to FED R. CIV. P. 26(f) and BLR 7016(1) and shall file with the Court on or before

SEPTEMBER 7, 2018, a written report that sets forth the following information:

       1. Initial Disclosures. (Include one or more of the following, modified as appropriate.)

       [ ]    The parties have made the initial disclosures required by FED R. CIV. P. 26(a)(1).

       [ ]    The parties agree to exchange written and verified initial disclosures.

       [ ]    The parties have agreed not to make initial disclosures and to waive the
              requirements of FED R. CIV. P. 26(a)(1) with regard to same.

        2. Discovery Plan. The parties jointly propose to the Court that discovery shall be
completed by _____________________, subject to modification by the Court with the consent
of the parties or for good cause shown.

       3. Other items.

      (a) The parties shall submit a consolidated pretrial order no later than _______________.
See Bankruptcy Local Rule 7016-2.

         (b) Unless further ordered by the Court, Plaintiff will be allowed until _______________
to file motions to join additional parties and until _______________ to file motions to amend the
pleadings.

         (c) Unless further ordered by the Court, Defendant will be allowed until _____________
to file motions to join additional parties and until _______________ to file motions to amend the
pleadings.

      (d) All dispositive motions, including Motions for Summary Judgment, will be filed by
______________.

       4. Settlement Potential.

       (a) The parties [ ] have [ ] have not discussed settlement.

       (b) The parties [ ] do [ ] do not intend to hold additional settlement conferences among
themselves prior to the close of discovery. The proposed date of the next settlement conference
is ________________.

       (c) The parties [ ] have [ ] have not considered alternative dispute resolution.
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        (d) Settlement prospects may be enhanced by one of the following alternative dispute
resolution procedures [check applicable boxes]: [ ] Mediation; [ ] Judicial settlement
conference; [ ] Early neutral evaluation; [ ] Other.

        5. Identify any other matters regarding this Court’s authority or jurisdiction, discovery or
case management that may require the Court’s attention (e.g., concerns about confidentiality; the
need for protective orders; unmovable scheduling conflicts). If this is not a core proceeding, do
the parties consent to this Court entering a final judgment on any non-core matters in the
proceeding?1

              6. Any other matters not covered above.

        7. Whether the parties [ ] do [ ] do not request a conference with the Court prior to entry
of the scheduling order. Any such conference may be [ ] by telephone [ ] in chambers [ ] in
Court.

       8. Failure to timely file the required written report shall mean that this proceeding shall
be governed by Bankruptcy Local Rule 7016-1(b)(2), including that discovery must be
completed within ninety (90) days from the later of the appearance of the first defendant by
answer or motion.

       The Clerk is directed to serve the Plaintiff, Plaintiff’s Attorney, Defendant, Defendant’s
Attorney, the Chapter 7 Trustee, and the U. S. Trustee.

                                                                   END OF ORDER




 




                                                            
1
 If this is not a core proceeding or if this proceeding contains non-core claims, and if no Report is filed or if this
question is not answered in the Report, one or more of the parties must file a separate, written statement indicating
any objection to this Court entering a final judgment in this matter if any of the parties do, in fact, have such an
objection. The failure to raise such an objection could result in this Court concluding that the parties have knowingly
and voluntarily consented to this Court entering a final judgment on any non-core matters in this proceeding.
